AO 451 (Rev. l2/12) Clerk’s Certif'ication of a Judgment to be Registered in Another District

 

UNITED STATES DISTRICT CoURT

for the
District of Kansas

Kendra Ross

 

P[al'ntijj”
V

. CivilAction No. 2:17-cv-02547-DDC-TJJ
Royal| Jenklns et al

 

Defendant

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (daze) 05/23/2(11§3 .
l also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending

before this court, the time for appeal has expired, and no appeal has been filed or, if one Was tiled, it is no longer
pending

Date: 10/03/2018
CLERK OF COURT

3/ Char|es Van Ness

 

Sz`gna:‘tzre of CIe/'k' or Deputy C/e,"k

Case 2:18-mc-00050-PP Filed 10/16/18 Page 1 of 6 Document 1

Case 2:17~cv-02547~DDC-TJJ Document 41 l:iled 05/23/18 Page 1 of 2

AO 450 (Rev. 01/09) Judgment in a Civil Action

 

UNITED STATES DISTRICT CoURT

for the
District of Kansas

KENDRA ROSS,

)
Plaintijj"(s) )
v ) Civil Action No. 17-2547-DDC-TJJ
)
)

 

ROYALL JENK|NS, THE VA'LUE CREATORS, lNC. f/k/a
THE UN|TED NAT|ON OF |SLANI, lNC., (See attached)
Defendcmt(s)

 

JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one).‘

 

 

 

ij the plaintiff (name) recover from the

defendant ()mme) the amount of
dollars ($ ), Which includes prejudgment

interest at the rate of %, plus post judgment interest at the rate of %, per annum, along With costs.

El the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

d O'€hel`l Judgment is entered in favor of plaintiff against defendants in the amount of $453,517.20 for restitution
damages, $2,920,000 for emotional distress damages, $3,373,517.20 for punitive damages, $282,677.50
for liquidated damages, $907,034.40 for trebled R|CO damages, and $1,800 for conversion damages, plus
post judgment interest at the rate of 2.32%. (See attached).

ThiS aCthl'l WB.S (check orle)I
ij tried by a jury with presiding, and the jury has
rendered a verdict.

i'_'] tried by without a jury and the above decision
Was reached

13 decided by on a motion for

TIMOTHY M O'BRIEN

 

Date: 05/23/2018 CLERK OF CO URT
DOé:;l/KZENT s/ l\/|egan Garrett
l hereby attest and certify tn at tnis is a Signamre afc/eric or Depwy Clerk

` ' ` nwas
nnted copy ol a document ‘Wnic
§lectronicallyiiled Witntne united States
Distriet Court for t‘ne Distnct oi l<ansasF
;'§", ' » l,§>
Dateliled: v . ,

 

   

\e®)®l§i@yl@krl<|:i|ed 10/16/18 Page 2 of 6 Document 1

Case 2117-c\/-02547-DDC-TJJ Document 41 Filed 05/23/18 Page 2 ot 2

Judgment (page 2)

Case No. l7~2547-DDC-TJJ

KENDRA ROSS v. ROYALL JENKINS, et al.,

(List of defendants continued from Judgment page 1):

THE VALUE CREATORS LLC, and THE VALUE CREATORS, lNC.

(Other continued from Judgment page 1):

The court awards plaintiff $117,184.34 for reasonable attorneys’ fees and costs, consistent with
the Memorandum and Order filed on May 23, 2018.

Case 2:18-mc-00050-PP Filed 10/16/18 Page 3 of 6 Document 1

Case 2:17-0v~02547~DDC-TJJ Document 94 Filed 10/02/18 Page 1 of 3

IN THE UNITED STATES DISTRICT C()URT
F()R THE DISTRICT OF KANSAS

 

KENDRA ROSS, )
Plaintiff, §
v. § Case No. 17~02547-DDC~TJJ
ROYALL JENKINS, et al., §
Defena’ants. §
)
WRIT OF EXECUTION

 

TO: THE UNITED STATES MARSHAL FOR THE DISTRICT OF KANSAS

You are directed to enforce the Judgment described below with interest and costs as
provided by law.

On May 23, 2018, a judgment was entered in the above-captioned action in favor of Kendra
Ross, Plaintiff, as Judgment Creditor and against Royall Jenkins, The Value Creators, Inc. f/k/a
The United Nation of lslam, lnc., The Value Creators LLC, and The Value Creators, lnc., as
Judgment Debtors in the amount of $453,5 17.20 for restitution damages, $2,920,000 for emotional
distress damages, $3,373,517.20 for punitive damages, $282,677.50 for liquidated damages,
$907,034.40 for trebled RICO damages, and $1,800 for conversion damages, plus post judgment
interest at the rate of 2.32%. The Court awarded Plaintiff $117,184.34 for reasonable attorneys’
fees and costs, consistent with the Memorandum and Order entered on May 23, 2018.

WHEREAS, according to the Affidavit of Elizabeth A. Hutson it appears that further sums
have accrued since the entry of judgment in the District of Kansas, to wit:

$15,137.61 accrued interest, making a total of
315,13'7.61 ACCRUED C()STS AND ACCRUED INTEREST

Case 2:18-mc-00050-PP Filed 10/16/18 Page 4 of 6 Document 1

Case 2:17-cv-02547-DDC-T.].J Document 94 Filed 10/02/18 Page 2 of 3

Credit must be given for payments and partial satisfaction in the amount of $0 which is to
be credited against the total accrued costs and accrued interest, with any excess credited against
the judgment as entered, leaving a net balance of:

$7,953,683.91, plus $117,184.34 for reasonable attorneys’ fees and costs awarded
ACTUALLY DUE on the date of the issuance of this writ of Which $7,938,546.30 is due on the
judgment as entered and bears interest at 2.32 percent per annum, in the amount of $504.5 871 per
day, from the date of issuance of this writ, to which must be added the commissions and costs of

the office executing this writ.

i:,-.,. ._

C_LERK,. UNI`T'E]{)_ sTATEs DlsTRlcT CoURT

`:"s/ Charles Van I\iess
Deputy Clerk l

EC/-
DOCUMENT ` _
l hereby attest and certify that this lea
printed copy ot a document which Was
electronically filed With the United States
District Court for the Dist§ri_ot of Kansas.

Date li|ed: ’
l rK, U.St District Co rt
06 b . ll

1

ease 2:18-mc-00050-PP Filed 10/16/13 Pa@‘l$ e"a'~;"" z~‘§"r -

 

~"~";';::Be.pntv C|erk

       

   

Case 2:17-cv-02547-DDC-TJJ Document 94 Filed 10/02/18 Page 3 of 3

The following are names and address of the judgment debtors to whom a copy of the Writ
of Execution must be mailed:

Royall Jenkins
21 ii North roth street
Kansas City, Kansas 66104-9998

The Value Creators lnc.

Attn: Griegory Moten, Registered Agent
1121 Quindaro

Kansas City, Kansas 66104

The Value Creators, LLC

Attn: Griegory Moten, Registered Agent
1121 Quindaro

Kansas City, Kansas 66104

The Value Creators, lnc. f/k/a The United Nations of lslam, lnc.
Attn: Griegory Moten, Registered Agent

1121 Quindaro

Kansas City, Kansas 66104

The Value Creators lnc.

120 SW 10th Avenue

Kansas Secretary of State
Topeka, Kansas 66612

The Value Creators, LLC
120 § §N lch Avenue

Kansas Secretary of State
Topeka, Kansas 66612

The Value Creators, Inc. f/k/a The United Nation of lslam, Inc.
120 S W 10th Avenue

Kansas Secretary of State
Topeka, Kansas 66612

Case 2:18-mc-00050-PP Filed 10/16/18 Page 6 of 6 Document 1

